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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

SUSAN LORINCZ,

       Plaintiff,                                     CASE NO.:      3:20-cv-00422-JSM-PRL
vs.

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,

      Defendant,
__________________________________/

          STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

       The parties hereby stipulate to dismiss this action with prejudice with each party bearing its

own costs and attorneys fees.

Dated this 13th day of September, 2021.

STEVEN A. BAGEN & ASSOCIATES, P.A.                    deBeaubien, Simmons, Knight, Mantazaris &
                                                      Neal, LLP

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